                        Case 1:21-cr-00618-ABJ Document 167 Filed 04/25/24 Page 1 of 1




Chief Federal Public Defender                                    April 25, 2024
Heidi R. Freese
First Assistant                     VIA CM/ECF FILING
Federal Public Defender
                                    The Honorable Amy Berman Jackson
Leo A. Latella
Senior Counsel
                                    Senior Judge
Ronald A. Krauss                    United States District Court, District of Columbia
Chief, Trial Unit                   333 Constitution Avenue NW
Lori J. Ulrich                      Washington, D.C. 20001
Chief, Appellate Unit
Frederick W. Ulrich                                     Re:    United States v. Williams
Senior Litigator
                                                               1:21-CR-618-ABJ
Thomas A. Thornton
Assistant
Federal Public Defenders            Dear Judge Jackson,
Ari D. Weitzman
Alexandria J. Lappas                    We write on behalf of Riley Williams, who was sentenced by this
Jason F. Ullman                     Honorable Court in March of 2023.
Staff Attorney
Ryan F. Shelley                           Yesterday evening, a Petition for Modification of Supervised Release
HARRISBURG OFFICE                   by United States Probation Officers Dixon and Suber, seeking to introduce a
100 Chestnut Street, Third Floor    computer monitoring condition to Ms. Williams’ supervised release.
Harrisburg, Pennsylvania 17101      Undersigned counsel were not given notice of this proposed modification
Tel.: 717-782-2237                  prior to the filing of the petition, in violation of Ms. Williams’ Sixth
Fax: 717-782-3881                   Amendment right to counsel. Moreover, this proposed condition was
__________________________          previously objected to by undersigned counsel in the presentence phase of
Assistant
Federal Public Defenders            Ms. Williams case, and this Court declined to impose such a condition at
Leo A. Latella                      sentencing.
  Manager, Scranton Operations
Elliot A. Smith
                                          We respectfully request an opportunity to file an opposition to the
Brandon R. Reish
                                    Petition, and request that the Court permit us to do so by Thursday, May 2,
SCRANTON OFFICE                     2024.
201 Lackawanna Avenue, Ste. 317
Scranton, Pennsylvania 18503
Tel.: 570-343-6285                                             Very truly yours,
Fax: 570-343-6225
__________________________                                     Lori J. Ulrich
Assistant
Federal Public Defender                                        Lori J. Ulrich
Gerald A. Lord
Staff Attorney                                                 Amanda R. Gaynor
Tammy L. Taylor                                                Amanda R. Gaynor
Amanda R. Gaynor
WILLIAMSPORT OFFICE                 cc: Samuel Dalke (via CM/ECF)
330 Pine Street, Ste. 302
Williamsport, Pennsylvania 17701
                                        Michael Gordon (via CM/ECF)
Tel.: 570-323-9314                      USPO Kenika Dixon (via CM/ECF)
Fax: 570-323-9836                       USPO Shawn A. Suber (via CM/ECF)
